
PER CURIAM.
This matter is before the Court on Petition for Approval of Conditional Guilty Plea for Consent Judgment and Entry of Final Order of Discipline to violations of article XI, Rule 11.02(4)(c) of the Integration Rule of The Florida Bar and Disciplinary Rules 1-102(A)(1) and 2-106(E) of the Code of Professional Responsibility of The Florida Bar. We approve the petition, and we hereby reprimand respondent, Bernard Cohen, for these violations. The publication of this order in Southern Reporter shall serve as respondent’s public reprimand.
Costs in the amount of $1,284.54 are hereby taxed against the respondent.
It is so ordered.
ADKINS, A.C.J., and OVERTON, ALDERMAN, MCDONALD and EHRLICH, JJ., concur.
